Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

 

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (it known) Chapter 11

 

C1 Check if this an amended
filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Quincy Bedford | LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal Employer
identification Number XX-XXXXXXX

 

 

 

 

 

 

 

 

(EIN)
4, Debtor's address Principal place of business Mailing address, if different from principal place of
business
670 Myrtle Ave
Ste 204
Brooklyn, NY 11205-3923
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Kings Location of principal assets, if different from principal
County place of business
22 Hart St Brooklyn, NY 11206-7909
Number, Street, City, State & ZIP Code
5. Debtor's website (URL)
6. Type of debtor EE Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

C] Partnership (excluding LLP)
C] Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy ; page 1
Case 1-21-42999-nnl

Debtor
Name

7. Describe debtor's business

Quincy Bedford | LLC

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Case number {if known)

 

A. Check one:
C1 Health Care Business (as defined in 11 U.S.C. § 101(27A))

 

ES Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CI Railroad (as defined in 11 U.S.C. § 101(44))

( Stockbroker (as defined in 11 U.S.C. § 101(53A))

C1 Commodity Broker (as defined in 11 U.S.C. § 101(6))

(4 Clearing Bank (as defined in 11 U.S.C. § 781(3))

[1 None of the above

B. Check all that apply

(7 Tax-exempt entity (as described in 26 U.S.C. §501)

CJ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
(1 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American industry Classification System) 4-digit code that best describes debtor.
See hito-/Avwww.uscourts.gowfour-digit-national-association-naics-codes.

 

5313
8. Under which chapter ofthe Check one:
Bankruptcy Code is the
debtor filing? C} Chapter 7
( Chapter 9

A debtor who is a “small
business debtor” must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor) must
check the second sub-box.

 

Ea Chapter 11.Check all that apply.

{1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

[J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
(excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

oo

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 17 (Official
Form 201A) with this form.

(1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
C] Chapter 12

 

9. Were prior bankruptcy

cases filed by or against the

debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

 

ES No.
OQ ves.

Case number
Case number

When
When

District
District

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtor Quincy Bedford | LLC Case number (if known)

 

Name

10. Are any bankruptcy cases CI No

 

pending or being filed by a
business partner or an EE Yes.
affiliate of the debtor?
List all cases. If more than 1, . .
attach a separate list Debtor 55 Pulaski Realty LLC Relationship Affiliate
Eastern District of
District New York When Case number, if known

 

 

41. Why is the case filed in Check ail that apply:

this district? .
EZ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

C] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or
have possession of any
real property or personal [1] Yes.
property that needs
immediate attention? Why does the property need immediate attention? (Check aif that apply.)

(1 it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

ES No
Answer below for each property that needs immediate attention. Attach additional sheets if needed.

 

(7 it needs to be physically secured or protected from the weather.

C1 it includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

[2 Other

 

Where Is the property?

 

Number, Street, City, State & ZIP Code
is the property insured?
[] No

Clyes. insurance agency

 

Contact name

 

Phone

 

 

Statistical and administrative information

 

13. Debtor's estimation of . Check one:

available funds
E® Funds will be available for distribution to unsecured creditors.

Cl After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

 

 

14, Estimated number of 1-49 [1 1,000-5,000 (9) 25,001-50,000
creditors C1 50-99 [9 5001-10,000 [2 50,001-100,000

C1 400-199 [ 10,001-25,000 (1 More than100,000
C) 200-999

15. Estimated Assets CI so - $50,000 $1,000,001 - $10 million C1] $500,000,001 - $1 billion
C7] $50,001 - $100,000 ( $10,000,001 - $50 million CJ $1,000,000,001 - $10 billion
CJ $100,001 - $500,000 CJ $50,000,001 - $100 million O $10,000,000,001 - $50 billion
C1] $500,004 - $1 million (7 $100,000,001 - $500 milion ( More than $50 billion

 

Official Form 201 Voiuntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

 

 

Debtor Quincy Bedford 1 LLC Case number (if known)
Name '
16. Estimated liabilities C1 $0 - $50,000 Ef $1,000,001 - $10 million C1 $500,000,001 - $1 billion
CI $50,001 - $100,000 CJ $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion
(1 $100,001 - $500,000 CJ $50,000,001 - $100 million (] $10.000,000,001 - $50 billion
C1] $500,001 - 31 million 0 $100,000,001 - $500 miftion (] More than $50 billion

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtor Quincy Bedford | LLC Case number (if known)

 

Name

Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152. 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.
| declare under penalty of perjury that the foregoing is true and correct.

Executed on November 17, 2021

 

 

MM/DD/YYYY
6 —
x ea FIA Capital Partners by David Goldwasser
Signature of authorized representative of debtor Printed name

Title Manager and Restructuring Officer

 

Decewan L
Date November-47, 2021

Sigrfature of attorney for debtor MM/OD/YYYY

Xx

 

18. Signature of attorney

 

 

Printed name

Goldberg Weprin Finkel Goldstein LLP
Firm name

1501 Broadway 22nd Floor
New York, NY 10036
Number, Street, City, State & ZIP Code

 

Contact phone (212) 221-5700 Email address

 

Bar number and State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page §
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

Xx
In re: Chapter 11
Quincy Bedford I LLC, Case No.
55 Pulaski Realty LLC, Case No.
Debtors.
xX

 

CONSOLIDATED DECLARATION
PURSUANT TO THE LOCAL BANKRUPTCY RULES

David Goldwasser declares the following under penalties of perjury pursuant to
28 U.S.C. § 1746:
L. My firm (FIA Capital Partners LLC) and I have been engaged by Quincy

Bedford I LLC and 55 Pulaski Realty LLC (collectively, the “Debtors”) to act as the Debtors’

 

restructuring officer for purposes of prosecuting these Chapter 11 cases.

2. I specialize in business restructuring, bankruptcy, and litigation planning,
including Chapter 11 reorganization, bankruptcy claims, tax liens, and rescue capital for
distressed commercial real estate. I have over 20 years of litigation and crisis management
experience and have appeared on behalf of debtors in over forty bankruptcy cases in the
Southern and Eastern Districts of New York.

3. I respectfully submit this Consolidated Declaration in accordance with the
Local Bankruptcy Rule 1007-4 in support of the Debtors’ respective voluntary petitions for relief
under Chapter 11 of Title 11 of the United States Code. I anticipate that the Chapter 11 cases
will be jointly administered. Thus, I am submitting a Consolidated Declaration for both cases,
which involve certain common creditors and a spreader mortgage currently held by Hart and

Pulaski Street Lender LLC, as successor to Customers Bank.
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Events Necessitating the Chapter 11 Filing

4, The respective Debtors are the owners of neighboring residential multi-
family walk-up buildings located at 22 Hart Street, Brooklyn, NY and 55 Pulaski Street, both in
Brooklyn, NY (collectively, the “Properties”). The Hart Street property is owned by Quincy
Bedford I LLC and consists of a two-story building with four residential units. The Pulaski
Street property is owned by 55 Pulaski Realty LLC and consists of a three-story building with
three residential units. The respective properties are subject to a spreader mortgage in the
principal sum of $2,187,300 (the “Mortgage”) which was originally issued by Customers Bank,
and later assigned to Hart and Pulaski Street Lender LLC (the “Current Lender”).

5. The spreader mortgage was first issued in 2014, and was consistently paid
on time by the Debtor through the maturity date and for a period thereafter. Indeed, by the time
the debt matured in April 2019, principal had been paid down to $1,965,788.19.

6. Customers Bank commenced a foreclosure action in the Supreme Court on
April 25, 2019 against both Debtors, and quickly sold the mortgage to the Current Lender (Hart
and Pulaski Street Lender LLC) in May 2019. The Current Lender is an affiliate of a notorious
predatory private lender known as Maverick Real Estate Partners (“Maverick”). Maverick
regularly buys mortgages invoking questionable defaults (many times retroactively) with the
goal of capitalizing on default interest rates.

7. While the Debtors’ principal indebtedness here is relatively manageable,
the Current Lender was less than prompt or diligent in proceeding with the foreclosure action,
knowing that a Receiver was in place, and default interest was running. Indeed, there was no
meaningful activity in the foreclosure even though there were questions whether the Debtors

were ever actually served. On October 14, 2021, the State Court refused to enter a default
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

judgment against the Debtors, which were granted leave to defend the action and contest the
computation of principal, interest and other fees. As a consequence, there are no
Rooker/Feldman implications in bankruptcy relating to the allowed amount of the Current
Lender’s claim.

8. Given the delays in the State Court system, it will take months, if not
years, for the foreclosure process to conclude. In the interim, the Current Lender potentially
stands to accrue hundreds of thousands of dollars in default interest and erode any residual equity
in the Property. Chapter 11 relief is being sought to obtain a prompt determination of the
Current Lender’s allowed claim and to challenge default interest based upon purposeful delay.
Once the allowed claim is fixed, the Debtor intends to proceeds to refinance the Property.

Local Rule 1007-4 Disclosures

9. Pursuant to Local Rule 1007-4 (a)(v), no committee of creditors was
formed prior to the filing of the respective Petitions.

10. Pursuant to Local Rule 1007-2(a)(vi), a list of the respective Debtors’
twenty largest creditors is included as part of the Debtors’ bankruptcy schedules.

It. Pursuant to Local Rule 1007-2(a)(vii), the Property is subject to a spreader
mortgage as identified above.

12. Pursuant to Local Rule 1007-2(a)(viii), the Debtors’ respective assets and
liabilities are set forth in the bankruptcy schedules and are comprised principally of the Property.

13. Pursuant to Local Rule 1007-2(a)(ix), the membership interests of each of
the Debtors are held by Leizer Klar.

14, Pursuant to Local Rule 1007-2(a)(x), a Receiver, Gregory M. LaSpina was

appointed with respect to the Property by Order dated July 17, 2019 in connection with the
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Foreclosure Action. Mr. LaSpina has collected rents and paid expenses thereafter. Once the
Debtors obtain a current rent roll and a report of transactions from the Receiver, they will each
update their schedules and statements accordingly.

15. Pursuant to Local Rule 1007-2(a)(xi), each of the separate properties has a
fair market value of approximately $1.9 million, for a total of $3.8 million.

16. Pursuant to Local Rule 1007-2(a)(xil), for the past two years, the Debtors’
books and records of operations have been maintained by the Receiver. All other books and
records of the Debtors are located at their business office in Brooklyn.

17. Pursuant to Local Rule 1007-2(a)(xiii), the Debtors are subject to the
pending foreclosure action instituted by the Lender in the Supreme Court, Kings County.

18. Pursuant to Local Rule 1007-2(a)(xiv), I am the current Manager and
restructuring officer both of the Debtors.

Dated: New York, New York
November 19, 2021 ~

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ana
-

David Goldwasser, Manager &
Restructuring Officer

 
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QUINCY BEDFORD I LLC
COMPANY RESOLUTION IN SUPPORT OF CHAPTER 11 FILING

WHEREAS, the business and legal affairs of Quincy Bedford I LLC (the “Company”) are
governed by a certain Operating Agreement (the “Operating Agreement”); and

WHEREAS, in accordance with the Operating Agreement, a special meeting of the
Company having been called and convened on November 17, 2021, and upon motion duly made
and carried, the following resolutions were adopted:

RESOLVED, that FIA Capital Partners LLC by David
Goldwasser is confirmed as the manager and restructuring officer
of the Company for purposes of filing and prosecuting the Chapter
11 case on behalf of the Company;

RESOLVED, the Company is authorized to file a voluntary
petition for relief under Chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”), in the United States Bankruptcy
Court for the Eastern District of New York; and it is further

RESOLVED, David Goldwasser is authorized to act on behalf of
the Company to (a) execute the Chapter 11 petition and all other
related papers, and other documents, and cause the same to be filed
with the Bankruptcy Court; (b) cause the Company to file all
schedules, statements, lists, motions, applications and other papers
necessary or desirable to prosecute the Chapter 11 case and
achieve confirmation of a plan of reorganization; and (c) pursue a
restructuring of the Company’s debts and obligations; and it is
further

RESOLVED, that the Company is authorized to retain the law
firm of Goldberg Weprin Finkel Goldstein LLP as counsel in the
Chapter 11 case under a general retainer.

Dated: New York, New York
November 3*, 2021
Quincy Bedford I LLC
By: FIA Capital Partners LLC, Manager

By: —_

David Goldwasser
Authorized Signatory

lrigur lar
Peer KR Tar, Member

 
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

“oo Xx
In re: Chapter 11
Quincy Bedford I LLC, Case No.
Debtor.
- Xx
LIST OF EQUITY HOLDERS

Leizer Klar 100%

Dated: New York, New York
November __, 2021

Qunicy Bedford I LLC

By: | FIA Capital Partners LLC

David Goldwasser
Manager and Restructuring Officer
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK

---- X

In re: Chapter 11

 

Quincy Bedford I LLC, Case No.

Debtor.

 

 

 

BANKRUPTCY RULE 7007.1 CORPORATE OWNERSHIP STATEMENT

Pursuant to Bankruptcy Rule 7007.1, Quincy Bedford I LLC certifies that it is a
private non-governmental party, and has no corporate parent, affiliates and/or subsidiaries which

are publicly held.

Dated: New York, New York
November __, 2021

Quincy Bedford I LLC

By: FIA Capital Partners LLC

sp
ne

By:
David Goldwasser
Manager and Restructuring Officer
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Ee slate)
Debtor name | Quincy Bedford | LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW O) Check if this is an

YORK, BROOKLYN DIVISION
Case number (if known): amended filing

 

 

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and

Are Not Insiders 412115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

Name of creditor and Name, telephone number | Nature of claim indicate if claim | Amount of claim

complete mailing address, | and email address of {for example, trade debts,| is contingent, | If the claim is fully unsecured, fillin only unsecured claim amount If
including zip code creditor contact bank loans, professional | unfiquidated, or | claim is partially secured, fill in total claim amount and deduction for
services, and government disputed value of collateral ar setoff to calculate unsecured claim.

contracis) Total claim, if Deduction for value | Unsecured claim
partially secured of collateral or setoff
AB Plumbing Inc. $750.00
6010 New Utrecht
Ave

Brooklyn, NY
11219-5076

All Best $113,500.00
Management Inc.
670 Myrtle Ave #
202

Brooklyn, NY
11205-3923
Bagad Realty LLC $32,000.00
694 Myrtle Ave #
176

Brooklyn, NY
11205-3916

BI Berk Insurance
PO Box 113247
Stamford, CT
06911-3247

Con Edison

Jaf Station,

PO Box 1702

New York, NY
10116-1702

ECB Violations Disputed $75,738.98
NYC Office of
Administrative
Trials

66 John St

New York, NY
10038-3735
Greencros Inc.
130 Lee Ave # 330
Brooklyn, NY
11211-8031

 

 

 

 

 

$1,376.68

 

$1,200.39

 

 

$94,000.00

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Case 1-21-42999-nnl

Debtor
Name

Quincy Bedford | LLC

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Case number (if known)

 

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade debts,
bank toans, professional
services, and government

Indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

Hart and Pulaski
Street Lender LLC
Jaspan Schlesinger
LLP

300 Garden City Piz
Garden City, NY
11530-3302

Mortgage loan

Unliquidated
Disputed

$2,162,612.00

$1,900,000.00

$262,612.00

 

Internal Revenue
Service
Centralized
Insolvency
Operations

PO Box 7346
Philadelphia, PA
19101-7346

Taxes

Unliquidated
Disputed

$0.00

 

National Grid
PO Box 371416
Pittsburgh, PA
15250-7416

$831.42

 

NYC Dept. of
Finance

345 Adams St FI3
Brooklyn, NY
11201-3719

Taxes

Unliquidated

$0.00

 

NYS Dep't of
Taxation
Bankruptcy/Special
Procedure

PO Box 5300
Albany, NY
12205-0300

Taxes

Disputed

$20,282.18

 

Star Maintenance
inc.

320 Roebling St #
332

Brooklyn, NY
11211-6262

 

 

 

 

 

 

 

$38,000.00

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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page 2

 
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Debtorname Quincy Bedford | LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)
(1 Check if this is an
amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors i235

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and

the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

and 3571.

Declaration and signature

 

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
serving as a representative of the debtor in this case.

{ have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:
Schedute A/B: Assets—Reaf and Personal Property(Official Form 206A/8)

Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

 

 

 

E
a Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G)
EB Schedule H: Cadebtors (Official Form 206H)
EE Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)
QO Amended Schedule
ist Chapter 11 or Chapter § Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
oO Other document that requires a declaration
| declare under penalty of perjury that the foregoing is true and correct. —
_
Executedon November 17, 2021 x ae —

 

Signature of individual signing on behalf of debtor

FIA Capital Partners by David Goldwasser
Printed name

Manager and Restructuring Officer
Position or relationship to debtor
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtorname Quincy Bedford | LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)
(0 Check if this is an

amended filing

 

 

Official Form 206A/B
schedule A/B: Assets - Real and Personal Property 1218

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. in Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)}.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

ash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

 

EZ No. Go to Part 2.

(1 Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of

debtor's interest

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

 

 

ES No. Go to Part 3.
( Yes Fill in the information below.

Accounts receivable
10. Does the debtor have any accounts receivable?

 

EE No. Go to Part 4.
(J Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

 

EE No. Go to Part 5.
(2 Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

 

ES No. Go to Part 6.
CJ Yes Fill in the information below.

 

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

 

 

No. Go to Part 7.

(J Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 7

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Case 1-21-42999-nnl

Debtor

Quincy Bedford | LLC

Name

 

Doc lL Fnued Lea/Olizlt entered t2/Ol/el lliocilo

Case number (if known)

 

Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

 

“No. Go to Part 8.
C Yes Fill in the information below.

 

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

 

El No. Go to Part 9.
[7 Yes Fill in the information below.

 

 

54. Does the debtor own or lease any real property?

CI No. Go to Part 10.
Yes Fill in the information below.

 

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of
property

Include street address or other
description such as Assessor
Parcel Number (APN), and type of
property (for example, acreage,
factory, warehouse, apartment or
office building, if available.

55.1. 99 Hart St, Brooklyn,
NY 11206-7909

Current value of
debtor's interest

Valuation method used
for current vaiue

Net book value of
debtor's interest
(Where available)

Nature and extent
of debtor's
interest in
property

Fee Simple $1,900,000.00 $1,900,000.00

 

56. Total of Part 9.

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

Copy the total to line 88.

 

$1,900,000.00

 

 

57. Is a depreciation schedule available for any of the property listed in Part 97
Ed No
CI Yes
58. Has any of the property fisted in Part 9 been appraised by a professional within the last year?

 

fi No
TC Yes

 

 

EZ No. Go to Part 11.
© Yes Fill in the information below.

  

; All other assets

| Intangibles and intellectual property
e debtor have any interests in intangibles or intellectual property?

70. Does the debtor own any other assets that have not yet been reported on this form?

Include all interests in executory contracts and unexpired leases not previously reported on this form.

 

No. Go to Part 12.
CI Yes Fill in the information below.

Official Form 206A/B

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Schedule A/B Assets - Reai and Personal Property page 2

 
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

 

 

Debtor Quincy Bedford | LLC Case number (if known)
Name
Official Form 206A/B Schedule A/B Assets - Real and Personai Property page 3

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Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtor Quincy Bedford | LLC

 

Name

Summary

{n Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

ot.

92.

Official Form 206A/B

Type of property ,

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

investments. Copy line 17, Part 4.

inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9.00.00. e ccc cterecetc cette cree reeesenenee

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 17.

Case number (if known)

Current value of
personal property

$0.00
$0.00
$0.00
$0.00
$0.00
$0.00

$0.00

$0.00

$0.00
$0.00

 

Current value of real

property

 

 

$1,900,000.00

 

 

 

 

Total. Add lines 80 through 90 for each column

 

$0.00

 

+ 91b.

 

$1,900,000.00

 

 

 

Total of all property on Schedule AJB. Add lines 91a+91b=92

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Schedule A/B Assets - Real and Personal Property

 

 

$1,900,000.00

 

 

page 4
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

 

Debtorname Quincy Bedford | LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)
{] Check if this is an

amended filing

 

Official Form 206D
Schedule BD: Grediters Whe Have Claims Secured by Property 12/15
Be as complete and accurate as possible.

4. Do any creditors have claims secured by debtor's property?
(J No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

 

Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured Column A Column B
claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral.
24 Hart and Pulaski Street
 |Lender LLC Describe debtor's property that is subject to a lien $2,162,612.00 $7,900,000.00
Creditors Name 22 Hart St, Brooklyn, NY 11206-7909
Jaspan Schlesinger LLP
300 Garden City Piz
Garden City, NY
11530-3302
Creditors mailing address Describe the tien
Is the creditor an insider or related party?
EE No
Creditor’s email address, if known Cl yes
Is anyone else liable on this claim?
Date debt was incurred CINo
EE Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
EE No Ci Contingent
Cl ves. Specify each creditor, & Unliquidated
including this creditor and its relative
priority.
$2,162,612.0
3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page. if any. 0

 

 

 

List Others to Be Notified for a Debt Already Listed in Part1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

 

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
Name and address On which line in Part 1 did you Last 4 digits of

 

 

enter the related creditor? account number for
this entity
Gregory M. Laspina
Borchert & LaSpina Line_2.4_
1902 Whitestone Expy Ste 302
Whitestone, NY 11357-3099
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtor Quincy Bedford | LLC Case number 6f known)

 

 

Name

Gregory M. Laspina

cio Adam Kalish, Esq. Line 2.1
182 26th St#A 2R

Brooklyn, NY 11232-1411

 

Official Form 206D Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property

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Case 1-21-42999-nnl

 

Debtor name

Quincy Bedford LLL

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)

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{J Check if this is an
amended filing

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired teases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and

Personal Property (Official Form 206A/8) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 

List All Creditors with PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

CI No. Go to Part 2.

EE Yes. Go to line 2.

12/15

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

 

 

 

 

 

 

Totai claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
Internal Revenue Service Check all that apply.
Centralized Insolvency Operations [1 Contingent
PO Box 7346 EE Unliquidated
Philadelphia, PA 19101-7346 A
Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY No
unsecured claim: 11 U.S.C. § 507(a) (8)
Clyes
Priotity creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
NYC Dept. of Finance Check all that apply.
| Contingent
345 Adams St Fi3 EB Untiquidated
Brooklyn, NY 11201-3719 1 disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY EB No
unsecured claim: 11 U.S.C. § 507(a) (8)
Dyes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 3

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G28617
Case 1-21-42999-nnl

Debtor Quincy Bedford | LLC

Name
Priority creditar’s name and mailing address
NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300
Albany, NY 12205-0300

 

Date or dates debt was incurred

Doc lL Fnued Lea/Olizlt entered t2/Ol/el lliocilo

Case number ¢f known)

 

As of the petition filing date, the claim is: $20,282.18 $0.00
Check all that apply.
im Contingent

C unliquidated
Ea Disputed

Basis for the claim:

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

  

out and attach the Additional Page of Part 2.

is the claim subject to offset?
ES No
Cl yes

i List All Creditors with NONPRIORITY Unsecured Claims
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. if the debtor has more than 6 creditors with nonpriority unsecured claims, fill

Amoaunt of claim

 

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $750.00
AB Plumbing Inc. contingent
CO unliquidated
6010 New Utrecht Ave (2 pisputed
Brooklyn, NY 11219-5076
is f im:
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __ Is the claim subject to offset?
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $113,500.00
All Best Management Inc. (1 contingent
7] unliquidated
670 Myrtle Ave # 202 C1 disputed
Brooklyn, NY 11205-3923
Basis for the claim:
Date(s) debt was incurred _ asis tor the claim —
Last 4 digits of account number __ is the claim subject to offset? E& No Cl ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $32,000.00
Bagad Realty LLC C1 Contingent
CQ Unliquidated
694 Myrtle Ave # 176 C1 Disputed
Brooklyn, NY 11205-3916
. Basis for the claim:
Date(s) debt was incurred __ 7
Last 4 digits of account number _ Is the claim subject to offset? Eino Olyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,376.68
BI Berk Insurance C1 contingent
2) Unliquidated
PO Box 113247 1 disputed
Stamford, CT 06911-3247
. Basis forthe claim: _
Date(s} debt was incurred __
Last 4 digits of account number __ \s the claim subject to offset? Eino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,200.39
Con Edison CJ contingent
Jaf Station, [7] Untiquidated
PO Box 1702 ( pisputed
New York, NY 10116-1702
. Basis for the claim: __
Date(s) debt was incurred __
Last 4 digits of account number __ Is the claim subject fo offset? Ea No Ch yes
Schedule E/F: Creditors Who Have Unsecured Claims Page 20f3

Official Form 206 E/F
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Case 1-21-42y995-nnl = Doc 1

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Case number ¢f known)

 

 

 

 

 

Debtor Quincy Bedford | LLC
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that epply. $75,738.98
ECB Violations CJ] Contingent
NYC Office of Administrative Trials CJ Untiquidatea
New York NY 10038-3735 E bisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Eno Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $94,000.00
Greencros Inc. CI Contingent
C3 unliquidated
130 Lee Ave # 330 (2 visputed
Brooklyn, NY 11211-8031
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ is the claim subject to offset? EZno Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $831.42
National Grid (1 contingent
Cl Unliquidated
PO Box 371416 C1 pisputed
Pittsburgh, PA 15250-7416
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Eno Ores
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $38,000.00
Star Maintenance Inc. C contingent
CJ unliquidated
320 Roebling St # 332 ( Disputed

Brooklyn, NY 11211-6262
Date(s) debt was incurred _

Last 4 digits of account number __

 

Basis for the claim: __

Is the claim subject to offset? Ei no Clyes

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees

of claims listed above, and attorneys for unsecured creditors.

if no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

Last 4 digits of
account number, if

On which line in Part? or Part 2 is the
related creditor (if any) listed?

 

 

 

 

 

any
44 NY State Attorney General
28 Liberty St Line 2.3 _
New York, NY 10005-1400 ; .
(1 Notlisted. Explain
42 NYC Dept of Law
Attn: Bernadette Brennan, Esq. Line 2.2. _
100 Church St Rm 5-233 0 . -
New York, NY 10007-2601 Motlisea, Bxplany
Total Amounts of the Priority and Nonpriority Unsecured Claims
§. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts
5a, Total claims from Part 1 Sa. 20,282.18
5b. Total claims from Part 2 Sb, + 357,397.47
eee cs 317,879.65

Official Form 206 E/F Schedule E/F:

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Creditors Who Have Unsecured Claims Page 3 of 3
Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtorname Quincy Bedford | LLC

United States Bankrupicy Court forthe: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
(OQ Check if this is an
amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
(1 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

El Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206A/B).

 

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1, State what the contract or All leases have been

lease is for and the nature of managed by Receiver.
the debtor's interest Information will be

supplemented after
recovery of books from

 

 

Receiver.
State the term remaining
List the contract number of
any government contract
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 4

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Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

 
   

Shae

Debtorname Quincy Bedford i LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
C1] Check if this is an

amended filing

 

Official Form 206H
Schedule H: Your Codebtors 42115

Be as complete and accurate as possible. lf more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

(No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
El Yes
2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,

Schedules D-G. include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1 55 Pulaski Realty Hart and Pulaski Ep 24
LLC Street Lender LLC Oer —
OG
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

Debtorname Quincy Bedford | LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)

 

 

Official Form 206Sum

 

(0 Check if this is an
amended filing

 

 

 

 

 

Summary of Assets and Liabilities for Non-Individuals 42/15
Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
ia. Real property:
Copy line 88 fromSchedule A/B..cccccccssssssecsssessovssssssesssunsenesessuuvestssesssunnsansseesesenssssosssusasensensnuscusnsseeateiee $ 1,900,000.00
tb. Total personal property: 00
Copy line 91A fromSchedule A/B.......ccsccecscsecssssssessvusecssnssssesssessssssessssnssnscnnuusssssnsenssuusnnssssenseusnseseceesananneeee $ 0.
1c. Total of alt property:
Copy fine 92 fromSchedile A/Bo..cccceccccsccsessesesesecscsssessnssesnesvercsuccncesartassssnscasessesesucaesuesseseancansecsassersusaseereneaeess $ 1,800,000.00
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column AAmount of claim, from line 3 of Schedule D............ cece $ 2,162,642.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a oBchedule E/P cece ce ccc ecen ee teesaenaeesenerenenseenaeeetenenenes 3 20,282.18
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from tine 5b dBchedule E/F, 1... ee eee cect cteeteeeneeeenee +8 357,397.47
4. Total liabilities ooo. ceceecececeneeece cence ceserecearesescesecuenscareceeneecsenececneepespreetaeeeseednanicie dees sasensesasenessessenenaeaneaas
Lines 2 + 3a + 3b $ 2,540,291 .65
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Case 1l-21-4¢2y99-nnl Docl Filed ic/Ol/el entered L2/Olizi tiiocilo

  
 

    

Debtorname Quincy Bedford 1 LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)
(0 Check if this is an

amended filing

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’s name and case number (if known).

 

 

1. Gross revenue from business

EZ None.
Identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check ail that apply (before deductions and

exclusions)

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and

royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

 

None.

Description of sources of revenue Gross revenue from
each source
{before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

 

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years
after that with respect to cases filed on or after the date of adjustment.)

EE None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be
adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives: general partners of a partnership debtor and their
relatives: affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

E None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor
5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
foreclosure sale, transferred by a deed in lieu of forectosure, or returned to the seller. Do not include property listed in line 6.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing far Bankruptcy page 1

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Debtor Quincy Bedford [LLC Case number (it known)
EZ None
Creditor's name and address Describe of the Property Date Value of property
6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

 

None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

 

egal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any

capacity—within 1 year before filing this case.

[i None.
Case title Nature of case Court or agency’s name and Status of case
Case number address
7.1. Customer Bank v. Quincy Foreclosure Supreme Court Kings EZ Pending
Bedford | LLC et al. County oO
On appeal
509175/2019 360 Adams St I Conte

Brooklyn, NY 11201-3707

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

receiver, custodian, or other court-appointed officer within 1 year before filing this case.

EI None

Custodian's name and Address Describe the property Value

; Two story walk up with four residential apartment
Gregory M. Laspina ¥ ° $1,900,000.00

 

 

 

1902 Whitestone Expy Ste 302 units

Whitestone, NY 11357-3099 Case title Court name and address
Customer Bank v. Quincy Bedford I LLC et al Court
Case number Supreme Court, Kings
§09175/2019 County
Date of order or assignment 360 Adams S$
July 17, 2019

 

 

Certain Gifts and Charitable Contributions

 

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
gifts to that recipient is less than $1,000

 

2 None

Recipient's name and address Description of the gifts or contributions Dates given Value

Certain Losses

 

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

 

i None

Official Form 207 Statement of Financial Affairs for Non-tndividuals Filing for Bankruptcy page 2

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Debtor Quincy Bedford | LLC Case number (if known)
Description of the property lost and how Amount of payments received for the loss Dates of loss Value of property
the loss occurred lost

if you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liabifity, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

 

Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behaif of the debtor within 1 year before the filing of this
case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
a bankruptcy case.

CJ None.
Who was paid or who received the lf not money, describe any property transferred Dates Total amount or
transfer? value
Address

11.1. Goldberg Weprin Finkel
Goldstein LLP
1501 Broadway 22nd Floor
New York, NY 10036 $20,000.00

Email or website address

 

Who made the payment, if not debtor?

 

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
self-settled trust or similar device.
Do not include transfers already listed on this statement.

 

None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

 

None.
Who received transfer? Description of property transferred or Date transfer was Total amount or
Address payments received or debts paid in exchange made value

 

; Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

EE Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

 

15. Health Care bankruptcies
is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
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Debtor Quincy Bedford | LLC Case number (if known)

 

- providing any surgical, psychiatric, drug treatment, or obstetric care?

 

ma No. Go to Part 9.
C1} Yes. Fill in the information below.
Facility name and address Nature of the business operation, including type of services the lf debtor provides meals

debtor provides and housing, number of
patients in debtor’s care

 

Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

No.

(Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

 

No. Go to Part 10.
(£1 Yes. Does the debtor serve as plan administrator?

Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold, moved,

or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,

cooperatives, associations, and other financial institutions.

 

=a None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance before
Address account number instrument closed, sold, closing or transfer
moved, or
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 7 year before filing this case.

 

None
Depository institution name and address Names of anyone with access Description of the contents Do you still
to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which

the debtor does business.

 

Facility name and address Names of anyone with access Description of the contents Do you still
to it have it?

roperty the Debtor Holds or Controls That the Debtor Does Not Own

 

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list

leased or rented property.

E None

Detaiis About Environment Information
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For the purpose of Part 12, the following definitions apply:
Environmental lawmeans any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium

affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
operated. or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

No.
(C] Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

EE No.

Cl] Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

No.

[] Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

Details About the Debtor's Business or Connections to Any Business

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.

Include this information even if already listed in the Schedules.

 

2 None

Business name address Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

( None

Date of service
From-To

Since 7/17/2019

Name and address

26a.1. Gregory M. Laspina
1902 Whitestone Expy Ste 302
Whitestone, NY 11357-3099

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2
years before filing this case.

EB None

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page §

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Debtor Quincy Bedford [LLC Case number (if known}

 

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

(1 None
Name and address if any books of account and records are unavailable,
explain why

26c.1. Gregory M. Laspina
1902 Whitestone Expy Ste 302
Whitestone, NY 11357-3099

26c.2.  Leizer Klar
670 Myrtle Ave Ste 204
Brooklyn, NY 11205-3923

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

EE None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

EE No

C] Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
control of the debtor at the time of the filing of this case.

Name Address Position and nature of any interest % of interest, if
any
Leizer Klar 670 Myrtle Ave Ste 204 Member 100%

Brooklyn, NY 11205-3923

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?

No
(Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
credits on loans, stock redemptions, and options exercised?

 

No
Cl Yes. Identify below.

Name and address of recipient Amount of money or description and value of Dates Reason for providing
property the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
ES No
Cl Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

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Debtor Quincy Bedford | LLC Case number (if known)

 

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

& No
Cl Yes. identify below.

Name of the pension fund Employer Identification number of the parent
corporation

 

Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.

48 U.S.C. §§ 152, 1341, 1519, and 3571.

{ have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.
Executedon November 17, 2021

—_
PG (LE FIA Capital Partners by David Goldwasser
Signature of ifidividual signing on behalf of the debtor Printed name

Position or relationship to debtor Manager and Restructuring Officer

 

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

 
 

CO ves

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United States Bankruptcy Court
Eastern District of New York, Brooklyn Division

IN RE: CaseNo.

Quincy Bedford [LLC Chapter i1 _
Debtor(s)

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of creditors) is true and
correct to the best of their knowledge.

Date: November 17, 2021
Debtor

 

Joint Debtor

 

Attorney for Debtor
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AB Plumbing Inc.
6010 New Utrecht Ave
Brooklyn, NY 11219-5076

All Best Management Inc.
670 Myrtle Ave # 202
Brooklyn, NY 11205-3923

Bagad Realty LLC
694 Myrtle Ave # 176
Brooklyn, NY 11205-3916

BI Berk Insurance
PO Box 113247
Stamford, CT 06911-3247

Con Edison

Jaf Station,

PO Box 1702

New York, NY 10116-1702

ECB Violations

NYC Office of Administrative Trials
66 John St

New York, NY 10038-3735

Greencros Inc.
130 Lee Ave # 330
Brooklyn, NY 11211-8031
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Gregory M. Laspina

Borchert & LaSpina

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Whitestone, NY 11357-3099

Gregory M. Laspina

c/o Adam Kalish, Esq.
182 26th St # A 2R
Brooklyn, NY 11232-1411

Hart and Pulaski Street Lender LLC
Jaspan Schlesinger LLP

300 Garden City Plz

Garden City, NY 11530-3302

Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346

Philadelphia, PA 19101-7346

Leizer Klar
473 Willoughby Ave
Brooklyn, NY 11206-6411

National Grid
PO Box 371416
Pittsburgh, PA 15250-7416
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Brooklyn, NY 11201-3719

NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300

Albany, NY 12205-0300

Star Maintenance Inc.
320 Roebling St # 332
Brooklyn, NY 11211-6262
